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                                   IN THE UNITED STATES DISTRICT COURT
                                       WESTERN DISTRICT OF VIRGINIA
                                            ROANOKE DIVISION

                                CRIMINAL MINUTES - GUILTY PLEA HEARING

  Case No.: 4:18CR00012-005                 Date: 2/10/2020

  Defendant: Javontay Jacquis Holland, custody                     Counsel: Jacqueline Reiner, Tom Bondurant - CJA

  PRESENT:       JUDGE:                     Michael F. Urbanski, CUSDJ          TIME IN COURT: 2:10-3:15 1h 5m
                 Deputy Clerk:              Kristin Ayersman
                 Court Reporter:            Mary Butenschoen
                 U. S. Attorney:            Heather Carlton, Ron Huber
                 USPO:                      Kim Falatic
                 Case Agent:                Devin Taylor, FBI
                 Interpreter:               none

  PROCEEDINGS:

         Waiver of Indictment filed.
         Information filed.
         Plea Agreement filed with court; SOF filed with court.
         Defendant advised of right to have U. S. District Judge accept plea. Defendant waives this right, and executes
         Consent to Allow U. S. Magistrate Judge to accept plea
         Defendant re-arraigned as to Counts Enter counts to which pleading guilty
         Defendant placed under oath. Court questions defendant regarding his/her physical and mental condition, and
         advises defendant of his/her rights, and the nature and possible consequences of plea.
         Court accepts plea of guilty and Rule 11(c)(1)(C) plea agreement and finds the defendant guilty of both counts.
         Guilty plea form executed and filed.
         Government summarizes evidence to support plea and rests.
         Court finds defendant guilty as charged in Counts one and eleven
         OR
         U. S. Magistrate Judge accepts plea of guilty to Counts enter counts to which defendant pled guilty and will
         recommend that the U. S. District Judge find the defendant guilty of said counts.

  DEFENDANT PLEADS:
  (list counts)


      DEF. #           GUILTY                 NOT GUILTY             NOLO                       REMARKS
               1, 11
         1

         2

         3

         4

         Court orders Presentence Report.
         Copy of Presentence Report not requested.
         Defendant to remain on bond.
         Defendant remanded to custody.
         Sentencing hearing scheduled for TBA before Judge Urbanski.
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  Additional Information:
  Parties and court located in Roanoke.
  US has to give justifiable reasons for the court to accept plea agreement with in that range.
